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                        UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  CIN-Q AUTOMOBILES, INC., et al.,  )
                                    )
                        Plaintiffs, )
      v.                            )                 Case No. 8:13-cv-01592-AEP
                                    )
  BUCCANEERS LIMITED                )           Magistrate Judge Anthony E. Porcelli
  PARTNERSHIP and JOHN DOES 1-10, )
                                    )
                       Defendants. )



                            EXHIBITS TO THE
        RESPONSE OF DEFENDANT BUCCANEERS LIMITED PARTNERSHIP
             TO PLAINTIFFS’ MOTION TO ENTER AND CONTINUE
                BRIEFING ON PENDING MOTION TO COMPEL


  Exhibit 1:   December 12, 2019 Email from Ross Good (9:56 a.m. CST)

  Exhibit 2:   December 12, 2019 Email from Mark Mester (10:10 a.m. CST)

  Exhibit 3:   December 12, 2019 Email from Ross Good (1:24 p.m. CST)

  Exhibit 4:   December 12, 2019 Email from Mark Mester (1:38 p.m. CST)

  Exhibit 5:   December 18, 2019 Correspondence from Mark Mester

  Exhibit 6:   November 19, 2019 Hearing Transcript

  Exhibit 7:   August 17, 2018 Correspondence from Ross Good
